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              IN THE UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF ARKANSAS
                       WESTERN DIVISION


DR. CHARLES HOPSON, Ph.D.                                       PLAINTIFF

v.                          No. 4:11-cv-608-DPM

DR. TOM KIMBRELL, in his official capacity
as Commissioner, Arkansas Department
of Education; and PULASKI COUNTY
SPECIAL SCHOOL DISTRICT                                     DEFENDANTS

                                  ORDER

     In September 2012, the Court dismissed most of Dr. Hopson's claims.

NQ 45.   Dr. Hopson died in October. In November, Dr. Kimbrell filed a

suggestion of death on the record. NQ 49. The ninety-day substitution

window established by Rule 25 closed with no substitution motion. With

important exceptions, the Rule provides that the claim "must be dismissed"

in that circumstance. In late April 2013, Patricia Hopson, Dr. Hopson's

widow, moved to substitute herself as plaintiff. Should the Court dismiss Dr.

Hopson's complaint, or grant his widow's untimely request to proceed with

what remains of this case on the estate's behalf? Dr. Kimbrell opposes

substitution, though he argues that it is immaterial to him whether the case

goes forward because the only claim remaining against him was extinguished
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with Dr. Hopson's death. Ng 63. Is this case over as to Dr. Kimbrell no matter

what?

     1. Survival. In September 2012, the Court dismissed all Dr. Hopson's

constitutional claims except his claim that Dr. Kimbrell denied him

procedural due process when Dr. Kimbrell ordered the Pulaski County

Special School District not to honor the contract's buyout clause. NQ 45.

Sovereign immunity barred damages.          Dr. Kimbrell's plenary removal

authority under the fiscal-distress statutes precluded injunctive relief. NQ 45

at 16. But the Court left open the possibility that Dr. Hopson could receive a

declaration that Dr. Kimbrell violated his constitutional rights. Ibid.

        Dr. Kimbrell now says that Dr. Hopson's death eliminated that

possibility as a matter of law. The Court agrees. State law determines

whether a cause of action for federal civil rights violations survives the

plaintiff's death.   Robertson v. Wegman, 436 U.S. 584, 588-90 (1978).      In

Arkansas, actions to recover for dignitary injuries-slander, libel, and

malicious prosecution, for example- do not survive. Parkerson v. Carrouth,

782F.2d 1449,1455 (8thCir.1986). Dr. Hopson's claim for a declaration is just

such an action. Indeed, vindication for Dr. Hopson, and the attorney fees



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incurred to secure that vindication, are all Mrs. Hopson could hope to achieve

here. Compare malicious prosecution and invasion-of-privacy claims, which

do not survive even though in the usual case they could result in a damage

award to the estate. The constitutional claim against Dr. Kimbrell for this

alleged injury to the late Dr. Hopson, an intangible matter, must be dismissed

with prejudice.

      Dr. Hopson's quasi-contract claim against the Pulaski County Special

School District survives. If the claim is considered as a matter of contract, Dr.

Hopson's death is legally immaterial. McDonald v. Pettus, 337 Ark. 265,278,

988 S.W.2d 9, 16 (1998); NEWBERN, WATKINS & MARSHALL, 2 ARKANSAS

PRACTICE SERIES, CIVIL PRACTICE AND PROCEDURE§ 7:11 at 192-193, n. 3 (5th

ed. 2010). To the extent the claim is beyond the contract, the survival statute

embraces and preserves it. ARK. CODE ANN.§ 16-62-101(a)(1).

      2. Substitution. The remaining motions concern whether Dr. Hopson's

buyout-related claim against the PCSSD must be dismissed under Federal

Rule of Civil Procedure 25(a) because no plaintiff was substituted in the 90

days the Rules allow. Dr. Kimbrell and PCSSD move to dismiss.                Dr.

Hopson's lawyer opposes with several arguments: the District didn't serve



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its own suggestion of death; Dr. Kimbrell's suggestion was improperly served

because Dr. Hopson's lawyer did not represent the estate; and the failure to

substitute a party resulted from excusable neglect. But Dr. Hopson's lawyer

says that if the Court does dismiss, it should do so without prejudice.

      Any party or a nonparty may file a suggestion of death to start the Rule

25(a) clock running, Unicorn Tales, Inc. v. Banerjee,138 F.3d 467,469-70 (2d Cir.

1998), so the first argument fails. But counsel is right that the suggestion of

death must be filed and served on the parties. And the consensus is that the

suggestion must be served on interested nonparties too- with one wrinkle:

The suggestion need not be served on nonparties who are not ascertainable

to the defendant when he files the suggestion. George v. United States, 208

F.R.D. 29, 32 (D. Conn. 2001); see generally Atkins v. City of Chicago, 547 F.3d

869 (7th Cir. 2008) (Posner, J.). The timing of the probate filings shows that

Dr. Kimbrell could not have served the suggestion on Dr. Hopson's estate in

November 2012 because no personal representative had yet been appointed.

NQ 55 at 2. In the circumstances, service on Dr. Hopson's lawyer was proper.

      So the substitution issue comes down to whether Patricia Hopson's

tardiness was   ~~because   of excusable neglect." FED. R. CIV. P. 6(b)(1)(B). A

timeline of events in this case and in the probate case is helpful.

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• 9 October 2012            Dr. Charles Hopson died.
• 9 November 2012           Suggestion of death filed.
• 11 January 2013           Mrs. Hopson petitioned the probate division
                            of the Nevada County Circuit Court to open
                            an estate for Dr. Hopson and for appointment
                            as his administratrix. Ng 69-1 at 1.
 • 6 March 2013             Mrs. Hopson filed Dr. Hopson's will in the
                            Circuit Court and petitioned for appointment
                            as Dr. Hopson's executrix. NQ 69-1 at 1.
 • 21 March 2013            The Circuit Court, sitting in the probate
                            division, opened the estate and appointed
                            Mrs. Hopson executrix. NQ 59-1.
 • 11 February 2013         Deadline for filing motion for substitution.*
 • 1 April 2013             The Circuit Clerk filed the appointment order.
                            NQ 69-1 at 1.

 • 29 April 2013            Mrs. Hopson moved in this Court to be
                            substituted as plaintiff. Ng 60.
      Mrs. Hopson's motion to substitute was 77 days late. FED. R. Crv. P.

25(a)(l). The Court concludes part of the delay was beyond Mrs. Hopson's

control, and that her failure to timely file a motion to substitute was because

of excusable neglect. Kaubisch v. Weber, 408 F.3d 540,542 (8th Cir. 2005). Mrs.

Hopson petitioned to be appointed as Dr. Hopson's personal representative


      • Rule 25 gives 90 days after the suggestion is served to file the
motion to substitute. FED. R. Crv. P. 25(a)(l). Kimbrell served the
suggestion via the CM/ECF system, which extended that period by 3 days.
FED. R. Crv. P. 6(d). February lOth was a Sunday, so the deadline was
Monday, February 11th. FED. R. Crv. P. 6(a)(l)(C).
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in early January 2013.     In light of the difficult financial and personal

circumstances recited in Mrs. Hopson's reply, NQ 69, including uncertainty

about where to probate her husband's estate, the Court cannot say that the

approximately two-month delay between the suggestion of death and her

petition to open the estate was unreasonable. The Nevada County Circuit

Court did not appoint her until early April2013. The almost four months it

took to get action from the Circuit Court on the petition to open the estate is

an unusually long time. Dividing responsibility for this delay between

counsel and an obviously busy and distant Court, reduces the tardiness

attributable to Mrs. Hopson. The Circuit Court's workload is a circumstance

beyond a litigant's control. Before appointment, she would not have been a

proper plaintiff here. There is no suggestion that Mrs. Hopson was acting

other than in good faith. Neither PCSSD nor Dr. Kimbrell has shown any

prejudice from the delay. The practical result of a substitution defect would

be (everyone agrees) dismissal without prejudice of the one remaining claim:

the quasi-contract claim against PCSSD. That step would likely lead only to

starting the one part left of this case over in a state court unfamiliar with the

dispute. Neither judicial economy nor the parties would be well served. The


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Court concludes that granting the untimely motion to substitute achieves

equity and common sense, taking into account all the relevant circumstances.

Pioneer Investment Services v. Brunswick Associates Ltd. Partnership,507V.S. 380,

395 (1993); Sugarbaker v. SSM Health Care, 187 F.3d 853, 856 (8th Cir. 1999).

                                    * * *
      The PCSSD's motion to adopt Dr. Kimbrell's motion to dismiss, NQ 53,

is granted. That motion for dismissal based on untimely substitution, NQ 51,

is denied. Patricia Hopson's motion, as executrix of Dr. Hopson's estate, to

be substituted as plaintiff, NQ 60, is granted. The Court directs the Clerk to

adjust the docket accordingly. Dr. Kimbrell's motion to dismiss Dr. Hopson's

remaining procedural-due-process claim against him, NQ 63, is granted. That

claim is dismissed with prejudice. Dr. Kimbrell is dismissed as a defendant.

      The Court appreciates the parties' recent status reports. NQ 71, 72 & 73.

PCSSD and Mrs. Hopson both say they're open to settlement discussions. The

Court therefore requests the Honorable Joe J. Volpe to hold a settlement

conference soon. The parties should also proceed apace with discovery,

motions, and trial preparation because the deadlines are imminent. NQ 47.




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So Ordered.


                            D.P. Marshall Jrf
                            United States District Judge

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